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                       IN THE UNITED STATES DISTRICT COURT

                        DISTRICT OF UTAH, CENTRAL DIVISION


UNITED STATES OF AMERICA,                       :           Case No. 2:08-cr-00758

                       Plaintiff,               :
                                                       UNITED STATES’ RESPONSE TO
        vs.                                     :      DEFENDANT’S RESENTENCING
                                                             MEMORANDUM
KEPA MAUMAU,                                    :

                       Defendant.               :            Judge Tena Campbell



        The United States of America hereby submits the following in response to

Defendant’s Resentencing Memorandum, filed April 27, 2020.         Doc No. 1753.

                                          Discussion

        Defendant’s Memorandum alleges that the United States “… subjected

[Defendant] to an extravagant trial penalty inflicted in a racially discriminatory fashion.”

Id. at 3.     Further, Defendant’s Memorandum asserts that “… the U.S. Attorney has

shamelessly sought to perpetuate [Defendant’s sentence]” since Defendant’s conviction

at trial and original sentencing.   Id. at 7.
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       The United States respects Defendant’s right to zealously advocate his position in

pleadings and in communications with the court, but the baseless allegations that the

United States intentionally inflicted “an extravagant trial penalty” in a “racially

discriminatory fashion” and that the United States is “shameless” are objectionable and

incongruous with the professional practice of law in Utah.

       Attorneys practicing before the Federal District Court for the District of Utah

“must comply … with the Utah Rules of Professional Conduct…”           DUCivR 83-1.5.1(a);

see also DUCrimR 57-12 (matters pertaining to attorney conduct in Utah criminal cases

are governed by applicable civil rules).     Rule 3.1 of the Utah Rules of Professional

Conduct directs that “[a] lawyer shall not … assert … an issue … unless there is a basis

in law and fact for doing so that is not frivolous…”     Finally, Rule 14-301(3) of the Utah

Rules of Professionalism and Civility states that “[l]awyers shall not, without an adequate

factual basis, attribute to other counsel … improper motives, purpose, or conduct.”

Referring to counsel for the United States as intentionally acting “shamelessly” and in a

“racially discriminatory” or racist fashion without any justification or evidence, fits

squarely within the scope of the prohibitions of these rules.

                                           Conclusion

       The baseless allegation of racism and personal attacks in Defendant’s

Memorandum are inappropriate and directly contrary to standards of professionalism for

lawyers practicing before this court. As such, they should be disregarded by this court at


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Defendant’s resentencing hearing on May 4, 2020.

       To the extent that the Defendant seeks to raise the racially disparate impact of

mandatory minimums or sentencing guidelines, the United States is prepared to address

those issues at resentencing.

       RESPECTFULLY SUBMITTED May 1, 2020.

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                                          J. DREW YEATES
                                          Assistant United States Attorney

                                          /s/ Stephen L. Nelson
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